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7                      UNITED STATES DISTRICT COURT
8                     CENTRAL DISTRICT OF CALIFORNIA
9
       TERRY FABRICANT, individually                            Case No.:
10     and on behalf of all others similarly                    2:21-cv-00225
       situated,
11
       Plaintiff,                                               NOTICE OF VOLUNTARY
12     vs.                                                      DISMISSAL OF ENTIRE
       EXODUS BUILDING SOLUTIONS,                               ACTION WITHOUT
13
                                                                PREJUDICE.
       INC.; and DOES 1 through 10,
14
       inclusive, and each of them,
15     Defendant.
16
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
17
     Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
18
     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
19
     motion for summary judgment. Accordingly, this matter may be dismissed
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     without prejudice and without an Order of the Court.
21

22         Respectfully submitted this 9th Day of March, 2021.
23
                                            By: s/Todd M. Friedman Esq.
24
                                                 Todd M. Friedman
25                                              Attorney For Plaintiff
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                                      Notice of Dismissal - 1
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2
                        CERTIFICATE OF SERVICE

3    Filed electronically on March 9, 2021, with:
4
     United States District Court CM/ECF system
5

6    Notification sent electronically on March 9, 2021, to:
7
     To the Honorable Court, all parties and their Counsel of Record
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9
     s/ Todd M. Friedman
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      Todd M. Friedman
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                                       Notice of Dismissal - 2
